                                              Entered on Docket
                                              August 12, 2019
                                              EDWARD J. EMMONS, CLERK
                                              U.S. BANKRUPTCY COURT
                                              NORTHERN DISTRICT OF CALIFORNIA


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                                            Signed and Filed: August 12, 2019
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                                            ________________________________________
 4                                          DENNIS MONTALI
                                            U.S. Bankruptcy Judge
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 6
 7                        UNITED STATES BANKRUPTCY COURT
 8                        NORTHERN DISTRICT OF CALIFORNIA
 9
     In re:                            )            Bankruptcy Case
10                                     )            No. 19-30088-DM
     PG&E CORPORATION,                 )
11                                     )            Chapter 11
                  - and -              )
12
                                       )            Jointly Administered
13   PACIFIC GAS AND ELECTRIC COMPANY, )
                                                )
14               Debtors.                       )
                                                )
15                                              )
     ☐ Affects PG&E Corporation                 )
16   ☐ Affects Pacific Gas and                  )
         Electric Company                       )
17                                              )
     ☒ Affects both Debtors                     )
18                                              )
     * All papers shall be filed in         the )
19   Lead Case, No. 19-30088 (DM).              )
                                                )
20
21                      ORDER REGARDING CONDUCT OF HEARINGS ON
                                AUGUST 13 AND 14, 2019
22
23         For the hearings on Tuesday, August 13, 2019, at 9:30 AM,

24   the court will call the Senior Unsecured Noteholders’ motion to
25   terminate exclusivity first. The moving party and those who have
26   filed in support of the motion and wish to be heard will have a

27   total of thirty minutes for their opening arguments; the Debtors
28   and those who have filed in opposition to the motion and wish to
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 1   be heard will have a total of forty-five minutes for their

 2   arguments; the moving party will have fifteen minutes for

 3   rebuttal.    The court expects counsel to meet and confer to

 4   divide the time allocations as they see fit.

 5         After a break the court will hear the Ad Hoc Subrogation

 6   Claim Holders’ motion to terminate exclusivity, with the same

 7   allocations of time among the various parties.

 8         Following argument, the two motions will stand submitted,

 9   with the expectation that the court will announce its decisions

10   following the August 14 hearings.

11         For the hearings on Wednesday, August 14, 2019, at 9:30 AM,

12   the court will quickly dispose of or continue the Mester motion

13   for relief from stay (Dkt. 3036), the Debtors’ Objection to

14   Section 503(b)(9) Claims (Dkt. 2896), and the Omnibus Motion re

15   Community Pipeline Safety Initiative (Dkt. 3176).

16         Next, the court hear the Debtors’ motion for establishment

17   of estimation procedures.         The Debtors and those who have filed

18   in support of the motion and wish to be heard will have a total

19   of forty-five minutes for their opening arguments; the TCC and

20   those who have filed in opposition to the motion and wish to be

21   heard will have a total of one hour for their arguments; the

22   Debtors will have thirty minutes for rebuttal.                The court

23   expects counsel to meet and confer to divide the time

24   allocations as they see fit.

25         Following argument, the court will take a midday break of

26   approximately one hour and will announce the time the afternoon

27   session will begin.

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 1         For the afternoon hearings, the court will hear the TCC’s

 2   and the Ad Hoc Subrogation Claim Holders’ motions for relief

 3   from stay together. The moving parties and those who have filed

 4   in support of the motions and wish to be heard will have a total

 5   of forty-five minutes for their opening arguments; the Debtors

 6   and those who have filed in opposition to the motions and wish

 7   to be heard will have a total of one hour for their arguments;

 8   the moving parties together will have thirty minutes for

 9   rebuttal. The court expects counsel to meet and confer to divide

10   the time allocations as they see fit.

11         For the August 14 hearings, the overflow courtroom

12   (Courtroom 19) WILL NOT BE AVAILABLE.              The media center on the

13   first floor will be open for parties wishing to listen to the

14   hearings. Parties not planning to appear and present arguments

15   are encouraged to use CourtCall and monitor the hearings by

16   telephone.       Refer to “Request for Telephonic Appearances” at:

17   http://www.canb.uscourts.gov/case-info/pge-corporation-and-

18   pacific-gas-and-electric-company

19                                  **END OF ORDER**

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